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                UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE JANE A. RESTANI, JUDGE
__________________________________________
                                           )
PT. KENERTEC POWER SYSTEM,                 )
                                           )
            Plaintiff,                     )
                                           )
      and                                  )
                                           )
WIND TOWER TRADE COALITION,               )  Court No. 20-03687
                                           ) (Consol.)
            Consolidated Plaintiff,        )
                                           )
      v.                                   )
                                           )
UNITED STATES,                            )
                                           )
            Defendant,                     )
                                           )
      and                                  )
                                           )
PT. KENERTEC POWER SYSTEM and              )
WIND TOWER TRADE COALITION,                )
                                           )
            Defendant-Intervenors.        )
__________________________________________)

           DEFENDANT’S MOTION FOR PARTIAL VOLUNTARY REMAND

       Pursuant to Rule 7(b) of the Rules of the United States Court of International Trade,

defendant, the United States, respectfully requests that the Court remand, in part, the Department

of Commerce’s (Commerce) final determination in Utility Scale Wind Towers from Indonesia,

85 Fed. Reg. 40,241 (Dep’t of Commerce July 6, 2020) (final countervailing duty determin.),

P.D. 266, and accompanying Issues and Decisions Memorandum (IDM), P.D. 259 (Final

Determination). We respectfully request a voluntary remand for Commerce to reconsider or

further explain the upstream subsidy determination, and, if appropriate, recalculate the
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countervailing duty rates for PT. Kenertec Power System (Kenertec) and all other Indonesian

wind tower producters and exporters.1

                                        BACKGROUND

       Consolidated plaintiffs filed actions challenging certain aspects of Commerce’s final

determination in the countervailing duty investigation of utility-scale wind towers (wind towers)

from Indonesia. They principally focus on Commerce’s findings regarding alleged government

subsidization of cut-to-length steel plate (CTL plate), the primary input used in the wind towers’

production.

       For its part, Kenertec challenges Commerce’s initiation of an investigation into the

upstream subsidization of CTL plate (see Kenertec Br. at 18-24 (ECF Nos. 25-1 and 26-1)),

certain procedural and substantive aspects of that upstream subsidy investigation (see id. at 24-

35), and Commerce’s determination that Kenertec received countervailable upstream subsidies at

an ad valorem rate of 5.70 percent through its purchases of CTL plate from Krakatau POSCO.

See id. at 35-44.

                                          ARGUMENT

       We respectfully request that the Court partially remand the final determination back to

Commerce. In SKF USA, the United States Court of Appeals for the Federal Circuit held that an

agency “may request a remand (without confessing error) in order to reconsider its previous

position.” SKF USA Inc. v. United States, 254 F.3d 1022, 1029 (Fed. Cir. 2001). The Federal

Circuit identified three situations in which the Government may seek a remand to the




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        We are filing this motion for partial voluntary remand contemporaneously with our
response in opposition to the parties’ respective Rule 56.2 motions for judgment on the agency
record, in which we respectfully ask this Court to sustain the remainder of Commerce’s final
redetermination.
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administering agency: (1) to reconsider a decision because of intervening events outside of the

agency’s control (e.g., a new legal decision); (2) to reconsider a previous position absent

intervening events; and (3) to change the result because the agency believes the original decision

was incorrect on the merits. Id. at 1028-29.

        Although the Court possesses discretion whether to grant a remand in such

circumstances—for example, “[a] remand may be refused if the agency’s request is frivolous or

in bad faith”—“if the agency’s concern is substantial and legitimate, a remand is usually

appropriate.” Id. at 1029. Notably, the holding of SKF USA was that the Court had abused its

discretion in denying the Government’s motion for voluntary remand. See id. at 1030. In short,

in SFK USA, the Federal Circuit announced the controlling standard for the Court to decide

motions for voluntary remand in a consolidated action such as this one. This standard affirms

that an agency’s power to make an administrative determination contains within it the power to

reconsider that decision, as appropriate. See United States v. Sioux Tribe, 616 F.2d 485, 493 (Ct.

Cl. 1980) (“It is a well established principle that an administrative agency may reconsider its

own decisions. ‘The power to reconsider is inherent in the power to decide.’” (citation omitted)).

       In the final determination, Commerce determined, among other things, that each element

under 19 U.S.C. § 1677-1(a) had been satisfied and that Kenertec had received countervailable

upstream subsidies through its purchases of CTL plate. See IDM at 59-61. To make this

determination, Commerce relied, in part, on its previous subsidy findings in CTL Plate from

Indonesia and the 15.90 percent all-others rate that applied to Indonesian CTL plate producers.

Id. at 57-63 (citing Certain Cut-to-Length Carbon-Quality Steel Plate from Indonesia, 64 Fed.

Reg. 73,155, 73,163 (Dep’t of Commerce Dec. 29, 1999) (final countervailing duty determin.)

(CTL Plate from Indonesia). Commerce calculated this all-others rate based on a simple average



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of the rates for three mandatory respondents—Krakatau Steel’s 47.71 percent rate and the zero

rates determined for two other companies. Krakatau Steel’s 47.71 percent rate comprises the

following six countervailable subsidy programs: (1) 1995 Equity Infusion into Krakatau; (2)

Pre-1993 Equity Infusions to Krakatau; (3) 1989 Equity Infusion to the Cold Rolling Mill of

Indonesia; (4) Three-Step Equity Infusion to the Cold Rolling Mill of Indonesia; (5) Two-Step

Loan Program; and (6) Rediscount Loan Program. See CTL Plate from Indonesia, 64 Fed. Reg.

at 73,159-162.

       When calculating the upstream subsidy rate for Kenertec, Commerce recognized that the

all-others rate in CTL Plate from Indonesia is a rate that is derivatively based on programs that

were specific to Krakatau Steel and found that the following two countervailable subsidy

programs were available to CTL plate producers such as Krakatau POSCO: the Two-Step Loan

Program (0.65 percent) and the Rediscount Loan Program (5.05 percent). See IDM at 62; CTL

Plate from Indonesia. The combined subsidy rate of 5.70 percent for these subsidy programs

functioned as a “cap” on the competitive benefit for Kenertec, pursuant to section 1677-1(c), and

Commerce included the 5.70 percent rate for the upstream subsidization of CTL plate in

Kenertec’s overall subsidy rate of 5.90 percent. IDM at 63.

       Kenertec challenges Commerce’s determination that Kenertec received countervailable

upstream subsidies at an ad valorem rate of 5.70 percent through its purchases of CTL plate from

Krakatau POSCO. See Kenertec Br. at 35-44. Kenertec asserts that Commerce impermissibly

found the existence of upstream subsidies by incorporating into its analysis subsidy rates from

the CTL Plate from Indonesia that were specific to Krakatau Steel and based on adverse facts

available, including the Rediscount Loan Program that Commerce previously has found to be an

export subsidy. See id. at 36-40. Kenertec argues that “Commerce’s reliance on an export



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subsidy in its calculation of Kenertec’s ad valorem subsidy rate is a clear legal error.” Id. at 39-

40 (citing 19 U.S.C. § 1677-1(a) and 19 C.F.R. § 351.523(a)(1)(i)). Kenertec has also raised

other arguments regarding the upstream subsidy rate calculation. See id. at 40-44.

       In light of Kenertec’s briefing on the issue, we respectfully request a partial voluntary

remand for Commerce to reconsider or further explain the upstream subsidy determination and,

if appropriate, recalculate the countervailing duty rate for Kenertec and all other Indonesian wind

tower producers and exporters.

       As noted above, a voluntary remand is “generally appropriate ‘if the agency’s concern is

substantial and legitimate.’” SeAH Steel Corp. v. United States, 704 F. Supp. 2d 1353, 1378 (Ct.

Int’l Trade 2010) (quoting SKF USA, 254 F.3d at 1029); see also Shakeproof Assembly

Components Div. of Illinois Tool Works, Inc. v. United States, 412 F. Supp. 2d 1330, 1338-39

(Ct. Int’l Trade 2005) (granting motion for voluntary remand, recognizing that the Government

is presumed to act in good faith, and that this presumption may only be overcome by “well-nigh

irrefragable proof”). “A concern is substantial and legitimate when (1) Commerce has a

compelling justification, (2) the need for finality does not outweigh that justification, and (3) the

scope of the request is appropriate.” Changzhou Hawd Flooring Co., Ltd. v. United States, 6 F.

Supp. 3d 1358, 1360 (Ct. Int’l Trade 2014) (citing Baroque Timber Indus. (Zhongshan) Co., Ltd.

v. United States, 925 F. Supp. 2d 1332, 1338-39 (Ct. Int’l Trade 2013)).

       Here, there is a substantial and legitimate concern that makes it appropriate for the Court

to grant our request for a partial remand. This Court has stated that “{c}larifying and correcting

a potentially inaccurate determination is a compelling justification {for voluntary remand}.”

Baroque Timber, 925 F. Supp. 2d at 1339. An upstream subsidy is defined as any

countervailable subsidy other than an export subsidy. See 19 U.S.C. § 1677-1(a); see also 19



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C.F.R. § 351.523(a)(1)(i). We acknowledge that Kenertec has raised a potential concern

regarding Commerce’s final upstream subsidy determination and rate calculation, which

included a program that Commerce previously has found to be an export subsidy, that is, the

Rediscount Loan Program. The need to calculate subsidy rates is not outweighed by the interest

in finality under these circumstances, i.e., “‘a routine appeal of a final determination.’”

Changzhou Hawd, 6 F. Supp. 3d at 1361 (quoting Baroque Timber, 925 F. Supp. 2d at 1339).

Further, our request asks for a remand to allow Commerce to evaluate whether it made an error

in its upstream subsidy determination and, if so, recalculate the countervailing duty rate for

Kenertec and all other Indonesian wind tower producers and exporters. Thus, the scope of the

requested remand is appropriate because it is limited to the aspect of Commerce’s final

determination that is potentially erroneous.

       Because we have demonstrated that our request for Commerce to reconsider its approach

is in good faith and supported by substantial and legitimate concern, the Court should grant our

request for voluntary remand to afford Commerce an opportunity to further evaluate its upstream

subsidy calculation in light of Kenertec’s brief.

                                          CONCLUSION

       For these reasons, we respectfully request that the Court grant our motion for a voluntary

partial remand for Commerce to reconsider or further explain the upstream subsidy

determination and, if appropriate, recalculate the countervailing duty rates for Kenertec and all

other Indonesian wind tower producers and exporters. Should the Court grant our request, we

respectfully would request that the Court provide 60 days for Commerce to submit its remand

redetermination to the Court to afford Commerce sufficient time to complete the remand

redetermination.



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                                            Respectfully submitted,

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